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                          RECORD NO. 23-2964

                                  In The
          United States Court of Appeals
            For The Seventh Circuit
                       SIGNET BUILDERS, INC.,

                                          Appellant-Defendant,

                                     v.

         JOSE AGEO LUNA VANEGAS, on behalf of himself
                 and other similarly situated,

                                          Appellee-Plaintiff.

From the United States District Court for the Western District of Wisconsin,
                       Case No. 3:21-cv-00054-jdp


                    REPLY BRIEF OF APPELLANT


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                                     INTRODUCTION

       Since the Supreme Court’s decision in Bristol-Myers Squibb Co. v. Superior

Court of California, 582 U.S. 255 (2017), federal circuit courts have repeatedly held

that the decision applies to FLSA collective actions. See Fischer v. Fed. Express Corp.,

42 F.4th 366 (3d Cir. 2022), cert. denied, 143 S. Ct. 1001 (2023); Canaday v. Anthem

Cos., Inc., 9 F.4th 392 (6th Cir. 2021), cert. denied, 142 S. Ct. 2777 (2022); Vallone v.

CJS Sols. Grp., LLC, 9 F.4th 861 (8th Cir. 2021). But see Waters v. Day &

Zimmermann NPS, Inc., 23 F.4th 84 (1st Cir. 2022), cert. denied, 142 S. Ct. 2777

(2022) (2-1 panel decision with Barron, C.J., dissenting). The Court should join the

consensus.

       Appellee Jose Ageo Luna Vanegas could have brought his FLSA claim against

his former employer, Appellant Signet Builders, Inc., in multiple venues. Had Luna

Vanegas chosen Texas, he would have avoided the Bristol-Myers issue altogether

because Signet is subject to general personal jurisdiction in Texas. Signet runs its

day-to-day administrative operations in Texas. And for three decades it has provided

construction services across the United States, some of which involve management of

temporary workers as part of the H-2A temporary agricultural labor program. 1




1   There is a subtle undercurrent in the briefing by Luna Vanegas and his amici—which
    was more explicit in the prior appeal—that Signet is using the H-2A program to exploit
    labor. See, e.g., Appellee’s Br. at 5–6; Amicus Br. of Centro De Los Derechos Del Migrante,
    at 9–10, No. 21-2644 (7th Cir. Dec. 7, 2021). That is obviously beyond the bounds of this
    appeal. But, as Luna Vanegas conceded in his complaint, Signet has constantly operated
    its program under Department of Labor approval. See Am. Compl. ¶¶ 9, 16–35. And the
    reality is that Signet has a deep sense of care and responsibility for its people, promoting
    some workers beyond H-2A compensation levels and helping some obtain citizenship.

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       Luna Vanegas was one of Signet’s H-2A temporary workers and worked on

projects in Wisconsin. As a result, Wisconsin was also an option in which Luna

Vanegas could bring suit. Yet, by choosing Wisconsin, Luna Vanegas limited the

claims that could be added because Signet is subject to only specific personal

jurisdiction in Wisconsin. That is, the Western District of Wisconsin may be an

acceptable venue for Luna Vanegas’s individual claim. But by seeking conditional

certification for a collective action including over 500 employees who are not located

in Wisconsin, Luna Vanegas runs headlong into Bristol-Myers.

       Luna Vanegas’s response raises predictable arguments: he claims that Bristol-

Myers applies only to state courts and that the Seventh Circuit has its own caselaw

requiring a different outcome. But none of Luna Vanegas’s arguments support the

far-reaching holding he seeks, which, if adopted, would allow a single in-state

plaintiff to file an anchor claim and permit any number of unrelated or out-of-state

claims to follow. An inspection of FLSA collective actions and how federal courts

obtain personal jurisdiction over defendants (as well as some of amici’s own writings 2)

reveals that Bristol-Myers’ limits can and must apply to federal courts. The Court

should vacate and reverse the district court’s order granting Luna Vanegas’s motion

for conditional certification.




2   See 4 Charles A. Wright, Arthur R. Miller & Adam N. Steinman, Federal Practice and
    Procedure § 1068.1 (4th ed. 2021) (“[T]he Court in Omni Capital determined that the
    jurisdiction of a federal court, even in federal question cases, in the absence of a statutory
    provision for service, was limited by the forum state’s long-arm statute as a result of the
    incorporation of that methodology by former Rule 4(e).”).

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                                         ARGUMENT

I.      The Court rightly accepted—and should resolve—this interlocutory
        appeal.

        Luna Vanegas first contends that the Court “should dismiss this permissive

interlocutory appeal as improvidently accepted” because no non-Wisconsin worker

has consented to join the suit, “so Signet’s jurisdictional challenge is currently

hypothetical and abstract.” Appellee’s Br. at 11–12. That argument belies common

sense and binding caselaw. To start, dismissing an appeal as improvidently granted

after it has been fully briefed wastes the time of not only the parties but this Court.

        As Signet previously explained, this Court has recognized that jurisdictional

eligibility of opt-in plaintiffs in FSLA collective actions should be decided at the

conditional certification stage to avoid the improper court-facilitated solicitation of

claims. See Bigger v. Facebook, Inc., 947 F.3d 1043, 1049–50 (7th Cir. 2020); accord

Clark v. A&L Homecare & Training Ctr., LLC, 68 F.4th 1003, 1010 (6th Cir. 2023). 3

        That recognition adheres to the Supreme Court’s mandate in Hoffmann-La

Roche Inc. v. Sperling, 493 U.S. 165 (1989), that a court’s facilitation of notice must

not “in form and function” resemble “the solicitation of claims.” Id. at 174. But “notice

sent to employees who are not, in fact, eligible to join the suit amounts to solicitation

of those employees to bring suits of their own.” Clark, 68 F.4th at 1010. That is what

would happen here if Signet’s jurisdictional challenge is not resolved.


3    Luna Vanegas cites Pyle-National Co. v. Amos, 172 F.2d 425, 428 (7th Cir. 1949), in
     support of his argument, but Amos is irrelevant. Amos involved a petition in intervention
     that was (improperly) denied after the entry of judgment—a far cry from an FSLA
     collective action where notice may be sent to prospective out-of-state opt-in plaintiffs who
     are, in fact, ineligible to join the action.

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         Luna Vanegas adds that, even if Signet prevails, his case will proceed as an

individual and collective FLSA action for any Wisconsin opt-ins, and he may seek

certification of a nationwide class action for his non-FLSA claims. So, his argument

goes, reviewing Signet’s challenge now is delaying the ultimate resolution of the case.

But as the district court recognized in certifying its order for interlocutory appeal,

resolution of this case is only expedited by resolving Signet’s jurisdictional challenge.

See A-144–45 (explaining, inter alia, “immediate appeal will materially advance the

ultimate resolution of this litigation by resolving uncertainty about the proper scope

of the collective as it proceeds to the opt-in period, discovery, and summary

judgment”). Answering a legal question before sending notice to hundreds of people

who cannot in fact opt-in to an action no doubt saves time and money—on top of

complying with Supreme Court precedent.

II.      This Court should follow its sister circuits in applying Bristol-Myers
         to FLSA collective actions.

         Bristol-Myers clarified that, when litigants aggregate claims, courts must

engage in a claim-by-claim analysis of specific personal jurisdiction. See 582 U.S. at

264–66. The Third, Sixth, and Eighth Circuits each applied Bristol-Myers when

analyzing specific personal jurisdiction in the context of FLSA collective actions on a

claim-by-claim basis. Indeed, as the Sixth Circuit observed in Canaday—and the

Third Circuit quoted in Fisher—“[t]aken together, the claims [of out-of-state

plaintiffs] look just like the claims in Bristol-Myers.” Canaday, 9 F.4th at 397. 4


4     Luna Vanegas contends that the Eighth Circuit has not sided with the Sixth and Third
      Circuits because “the key issues relevant to this appeal were uncontested before the
      Eighth Circuit[.]” Appellee’s Br. at 3 n.1. But in Vallone, two employees “assert[ed] that
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      Luna Vanegas makes two primary arguments against applying Bristol-Myers.

First, he contends that Rule 4(k), which broadly governs federal summonses, is a

trigger for nationwide jurisdiction: once a summons is served under Rule 4(k) from

one plaintiff, the district court has specific jurisdiction over the defendant for any

claims by any other plaintiff, up to the vague bounds of the Fifth Amendment. And,

his argument goes, because Bristol-Myers addressed due process limits of the

Fourteenth Amendment, not the Fifth Amendment, it has no relevance in this case.

But Luna Vanegas’s argument relies on a fundamental misunderstanding of Rule

4(k), specific personal jurisdiction, and controlling precedent from this Court and the

Supreme Court.

      Second, Luna Vanegas argues that the Seventh Circuit “has already recognized

that Bristol-Myers does not limit district courts’ power to exercise personal

jurisdiction in representative actions.” Appellee’s Br. at 31–32. The argument

wrongly equates Rule 23 class actions to FLSA collective actions. Rule 23 class actions

stand alone as an exception to Bristol-Myers, which otherwise applies to aggregate

litigation and mass torts.

      Signet addresses each argument in greater detail below.




   because the court had personal jurisdiction over one set of claims that arose based on
   travel to Minnesota, the court could exercise jurisdiction over all travel-time claims
   against HCI.” 9 F.4th at 865. The Eighth Circuit disagreed, explaining that because the
   FLSA did not provide for nationwide service of process, it looked to the forum state’s long-
   arm statute, and because the employer (HCI) was subject only to specific personal
   jurisdiction, the court needed to analyze, claim-by-claim, whether personal jurisdiction
   existed over the employer. Id. The issues were hardly “uncontested.”

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       A.     Rule 4(k)(1)(A) limits personal jurisdiction consistent with the
              state’s long-arm statute and the Fourteenth Amendment.

       Starting with what the parties (and seemingly everyone) agree on: Rule 4(k)

plays some role in this lawsuit because the FLSA is silent on service of process. See

Omni Cap. Int’l, Ltd. v. Rudolf Wolff & Co., Ltd., 484 U.S. 97, 104 (1987) (“Before a

federal court may exercise personal jurisdiction over a defendant, the procedural

requirement of service of summons must be satisfied.”). The parties disagree,

however, on exactly how Rule 4(k) applies. In Luna Vanegas’s telling, Rule 4(k) is an

on-off switch for nationwide specific jurisdiction. But that novel claim clashes directly

with both the text of the rule and the foundational cases setting forth the law of

personal jurisdiction.

              1.      Luna Vanegas ignores the limitations on personal
                      jurisdiction incorporated by Rule 4(k).

       Luna Vanegas contends that “Rule 4(k) applies only to service of the summons,

and not subsequent developments in the case.” Appellee’s Br. at 14. At that point, he

says, the district court maintains jurisdiction over any U.S. resident, up to the bounds

of the Fifth Amendment (which in Luna Vanegas’s view appears to have no bounds

at all). 5 Thus, according to Luna Vanegas, because he initially established specific

personal jurisdiction over Signet in Wisconsin for his claims, the Wisconsin federal

district court has personal jurisdiction over Signet for all FLSA claims of out-of-state

opt-in plaintiffs (and presumably any other claim or party he wishes to add).




5   In support, Luna Vanegas relies on cases interpreting subsections of Rule 4(k) not at issue
    here, like Abelesz v. OTP Bank, 692 F.3d 638, 660 (7th Cir. 2012) (applying Rule 4(k)(2)).

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       Lunas Vanegas couches his position as a textual argument. But the plain text

of Rule 4(k)(1)(A) provides that service of summons establishes personal jurisdiction

over a defendant “who is subject to the jurisdiction” of the forum state’s courts.

       Stated another way, the summons confers jurisdiction; but it is not what

creates or defines the scope of that conferred jurisdiction. For that, Rule 4(k)(1)(A)

points to the forum state and thus constrains jurisdiction thereto. 6 And if there were

any doubt, the law of this Circuit and the Supreme Court is unequivocal: “Federal

courts ordinarily follow state law in determining the bounds of their jurisdiction over

persons.” Walden v. Fiore, 571 U.S. 277, 283 (2014) (quoting Daimler AG v. Bauman,

571 U.S. 117, 125 (2014)); see also Tamburo v. Dworkin, 601 F.3d 693, 700 (7th Cir.

2010) (“Where no federal statute authorizes nationwide service of process, personal

jurisdiction is governed by the law of the forum state.”).

       The Third Circuit put it this way:

       The reason federal courts are limited by the Fourteenth Amendment in
       such cases is not because a federal court exercising broader personal
       jurisdiction would violate the Constitution, but because Rule 4(k)(1)(A)
       does not authorize jurisdiction broader than what would be permissible
       for a state.

Fischer, 42 F.4th at 383. And the fact that Rule 4(k)(1)(A) requires consideration of

the due process limits of the Fourteenth Amendment is precisely why Bristol-Myers



6   Legal scholars have observed that the service of process rules were historically
    understood to constrain federal court jurisdiction. See Louis J. Capozzi III, Relationship
    Problems: Pendent Personal Jurisdiction after Bristol-Myers Squibb, 11 DREXEL L. REV.
    215, 249–50 & n.152 (2018) (“Starting in the Judiciary Act of 1789, Congress established
    service of process scope rules as separate constraints on assertions of jurisdiction by the
    lower federal courts.”).



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applies to FLSA collective actions and other aggregate litigation. As one district court

in this circuit stated, in the context of aggregate litigation, Bristol-Myers imposes an

“indirect” bar on federal courts exercising personal jurisdiction over later-added non-

resident plaintiffs. Muir v. Nature’s Bounty (DE), Inc., No. 15 C 9835, 2018 WL

3647115, at *4 (N.D. Ill. Aug. 1, 2018).

       Here, there is little dispute that, under the Wisconsin Long-Arm Statute, the

district court would lack specific jurisdiction over nonresident FLSA opt-in plaintiffs. 7

So the Western District of Wisconsin likewise does not have specific personal

jurisdiction over Signet for the claims of prospective out-of-state opt-in plaintiffs.

That should not be a surprising result. If Luna Vanegas had filed in Wisconsin state

court (as the express text of the FLSA authorized him to do), there is no dispute that

his attempt to join hundreds of employees with no connection to Wisconsin would

flout basic tenets of personal jurisdiction and Bristol-Myers.

              2.     Luna Vanegas attempts to rewrite the text of Rule 4(k)
                     under the guise of strict construction.

       Turning again to Luna Vanegas’ textual argument, if the Supreme Court had

intended Rule 4(k) to constrain federal district court jurisdiction only to the point of

summons, and thereafter to the extent of the Fifth Amendment, would it not have

said so, either in the text of the Rule or in its numerous decisions since? Other



7   The Wisconsin long-arm statute is an integral part of any specific personal jurisdiction
    analysis. From the start, Signet has challenged the district court’s exercise of specific
    personal jurisdiction over it for claims that do not arise out of or relate to its minimum
    contacts in Wisconsin. As such, for Luna Vanegas to argue that Signet “forfeited”
    invocation of the long-arm statute and that the long-arm statute is “irrelevant” defies
    reason. Appellee’s Br. at 29–31.

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portions of the Rule explicitly reference the Fifth Amendment, so clearly the Supreme

Court knew what it was doing.

       In reality, Luna Vanegas and his amici are trying to challenge the constraint

in Rule 4(k)(1)(A) altogether. In other words, they are hoping to use the courts to

accomplish what they have failed to do for decades via the rules committee: enact

nationwide service under Rule 4(k). 8

       Of course, Luna Vanegas’s position would lead to odd results. To start, if he is

correct, it is as if the summons confers general jurisdiction on a defendant, no matter

what new claims or parties are added. The court had (specific) personal jurisdiction

over you once, so anything else is fair game! That result is wholly inconsistent with

the principles of specific jurisdiction. See, e.g., Int’l Shoe Co. v. Washington, 326 U.S.

310, 316 (1945); Daimler, 571 U.S. at 125; Walden, 571 U.S. at 283. As the Supreme

Court reiterated in Bristol-Myers, “specific jurisdiction is confined to adjudication of

issues deriving from, or connected with, the very controversy that establishes

jurisdiction.” Bristol-Myers, 582 U.S. at 262 (quoting Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)).

       Luna Vanegas’s position also strays from the history of service of process.

Canaday traced that history, explaining first, “[a]t English common law, a writ of

capias ad respondendum directed the sheriff to take the defendant into custody to


8   As Chief Judge Barron explained in his Waters dissent, “[i]t would be strange for these
    commentators to have called for such an amendment if they in fact share the majority’s
    view that the rule’s deleterious effects on the beneficial aggregation of claims plainly can
    be overcome at present by a means as simple as the post-summons amendment of the
    complaint that was operative at the time that the summons was served.” 23 F.4th at 102
    (Barron, C.J., dissenting).

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secure his appearance before the court.” Canaday, 9 F.4th at 395 (citing Murphy Bros.

v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999)). And then “[s]ervice of

process took the old writ’s place in the mid-eighteenth century, making a summons

rather than an arrest the tool lawyers used to commence a civil lawsuit.” Id. (citing

Int’l Shoe Co., 326 U.S. at 316). “Over time, service of process became a prerequisite

for obtaining authority over a defendant, making it appropriate to say that service of

process conferred jurisdiction.” Id. (internal quotes omitted).

       So here, Luna Vanegas’s service of process on Signet conferred jurisdiction.

What type of jurisdiction? Looking to the Wisconsin long-arm statute and the

Fourteenth Amendment, as the Court must, the jurisdiction conferred was no doubt

specific jurisdiction over a single claim. And specific jurisdiction does not permit

adjudication of claims unrelated to the controversy that established jurisdiction—

even if added via Rule 5. See Bristol-Myers, 582 U.S. at 262. But accepting Luna-

Vanegas’s Rule 4(k) argument would defeat the limits of specific jurisdiction and

would permit adjudication of boundless claims, whether related to the controversy

that established jurisdiction or not.

      B.     Mussat v. IQVIA addressed only Rule 23 class actions—not FLSA
             collective actions.

      Luna Vanegas next argues that Mussat v. IQVIA, Inc., 953 F.3d 441 (7th Cir.

2020), compels affirmance because this Court held that Bristol-Myers does not apply

to “representative actions like this one.” Appellee’s Br. at 11. This is too clever.




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               1.     Luna Vanegas conceals the differences between class
                      actions and his proposed FLSA collective action.

       To begin, Mussat addressed Rule 23 class actions—not FLSA collective

actions—a point Luna Vanegas fails to mention until late in his brief. Nor did Mussat

purport to apply to FLSA collective actions or any other type of aggregate litigation.

In fact, it distinguished the two: “Class actions, in short, are different from many

other types of aggregate litigation, and that difference matters in numerous ways for

the unnamed members of the class.” Mussat, 953 F.3d at 446–47.

       Moreover, a FLSA collective action is not a “representative action.” There is a

lead plaintiff, and this Court has sometimes referred to them as “representatives,” 9

but the lead plaintiff does not literally bring claims on behalf of others absent from

the suit, like in Rule 23 class actions. Indeed, the key difference between Rule 23

class actions and FLSA collective actions is this: in a class action, class members need

not consent to be joined in the action (they must opt out if they so desire); in a

collective action, any putative plaintiff must consent (or opt in) to be joined in the

action. See Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 74 (2013) (“Rule 23

actions are fundamentally different from collective actions under the FLSA[.]”).

               2.     Other circuits have already rejected Luna Vanegas’s
                      attempts to treat all aggregate litigation alike.

       Canaday is instructive. There, the Sixth Circuit explained how, even though it

had recently reached the same holding as Mussat with respect to Rule 23 class




9   See, e.g., Smith v. Pro. Transp., Inc., 5 F.4th 700, 701 (7th Cir. 2021) (mentioning that an
    FLSA plaintiff attempted to serve as a “named representative”).

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actions, see Lyngaas v. Curaden Ag, 992 F.3d 412, 433 (6th Cir. 2021), the differences

between Rule 23 class actions and FLSA collective actions “require different

approaches to personal jurisdiction.” Canaday, 9 F.4th at 402. Despite some

similarities—like beginning with only one or a few plaintiffs, proceeding through a

certification process, and streamlining aggregate litigation—Rule 23 class actions

and FLSA collective actions developed against different backdrops, with different

protections.

        Several differences bear repeating here and illustrate why FLSA employees

are not “functionally equivalent to Rule 23 class members.” 10 Appellee’s Br. at 37.

        First, again, unlike Rule 23 class actions, an FLSA collective action is not a

representative action. Before 1947, the FLSA “gave employees and their

‘representatives’ the right to bring actions to recover amounts due under the FLSA.

No written consent requirement of joinder was specified by the statute.” Canaday, 9

F.4th at 402 (quoting Hoffmann-La Roche, 493 U.S. at 173). But, “[i]n response to

excessive representative litigation, Congress added the opt-in provision to the FLSA

in 1947.” Id. The amendment’s purpose was to “limit[] private FLSA plaintiffs to

employees who asserted claims in their own right” and to “free[] employers of the




10   Luna Vanegas quotes from two cases—Espenscheid v. DirectSat USA, LLC (Espenscheid
     I), 688 F.3d 872 (7th Cir. 2012), and Espenscheid v. DirectSat USA, LLC (Espenscheid II),
     705 F.3d 770 (7th Cir. 2013)—to support his view that Rule 23 class actions and FLSA
     collective actions are “functionally equivalent.” But the Espenscheid cases involved class
     certification procedures, not jurisdiction. And, in fact, they recognized the key distinction
     at issue here: “in a collective action, unnamed plaintiffs need to opt in to be bound, rather
     than, as in a class action, opt out to be bound.” Espenscheid I, 688 F.3d at 877.

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burden of representative actions.” Id. (quoting Hoffmann-La Roche, 493 U.S. at

173). 11

         Second, all plaintiffs in an FLSA collective action must choose to “become

parties” by opting into the collective action. Id. (quoting Genesis Healthcare, 569 U.S.

at 75); accord Bigger, 947 F.3d at 1047 n.1. After they opt in, these plaintiffs become

“party plaintiff[s].” Id. (quoting 29 U.S.C. § 216(b)). And they enjoy “the same status

in relation to the claims of the lawsuit as do the named plaintiffs.” Id. at 402–03

(quoting Prickett v. DeKalb Cnty., 349 F.3d 1294, 1297 (11th Cir. 2003)). This is in

stark contrast to Rule 23 class members, which “are not full parties to the case for

many purposes”; “the absentees are more like nonparties.” Mussat, 953 F.3d at 447–

48.

         Finally, class actions have procedural protections that collective actions do not.

Among other things, “Rule 23 requires plaintiffs to establish numerosity,

commonality, typicality, and adequacy of representation.” Canaday, 9 F.4th at 403

(citing FED. R. CIV. P. 23(a)). But “[p]laintiffs in an FLSA collective action need only

show that their employment makes them similarly situated to one another.” Id.

(citing 29 U.S.C. § 216(b)). In addition, statutes of limitations operate differently

(with the clock stopping for all class members once the named party’s claim is filed

but rolling for FLSA opt-in plaintiffs individually), and so does choice of counsel (Rule


11    The case Luna Vanegas quotes from calling collective actions “genuine representative
      action[s],” Woods v. New York Life Insurance Co., 686 F.2d 578, 581 (7th Cir. 1982),
      predated Supreme Court opinions to the contrary. Genesis Healthcare, 569 U.S. at 74
      (2013) (“Rule 23 actions are fundamentally different from collective actions under the
      FLSA[.]”); Hoffman-La Roche, 493 U.S. at 173 (1989) (explaining that collective actions
      are not true representative actions).

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23 classes must be represented by class counsel but FLSA opt-in plaintiffs can choose

their own counsel). Id.

       Ultimately, these differences convinced the Sixth Circuit in Canaday (and the

Third Circuit in Fisher) that “the representative nature of class actions may create

an exception to the general rules of personal jurisdiction recognized in Bristol-Myers

for ‘mass actions’” but that exception does not apply to FLSA collective actions. Id.

The same should be true in this Court.

III.   Supplemental personal jurisdiction does not save the claims of
       prospective out-of-state opt-in plaintiffs.

       Luna Vanegas also contends that supplemental or pendent personal

jurisdiction offers an alternative way to establish jurisdiction over any out-of-state

opt-in claims and Signet. To begin, this contention undermines his primary argument

that, once a summons is served, the personal jurisdictional inquiry is complete. Even

beyond that, however, the Court has never expanded supplemental personal

jurisdiction consistent with Luna Vanegas’s contention.

       Luna Vanegas hides what would be a seismic statutory expansion in a

seemingly nonchalant statement, saying: 28 U.S.C. § 1367 “is usually invoked to

supply supplemental subject matter jurisdiction, but its logic applies readily to

personal jurisdiction as well.” Appellee’s Br. at 45. Luna Vanegas goes too far.

       “Supplemental jurisdiction is a doctrine of subject matter jurisdiction.” 13 D

Charles A. Wright, Arthur R. Miller & Richard D. Freer, Federal Practice and

Procedure § 3567 (3d ed. 2019). True, some courts have recognized a doctrine of

“pendent personal jurisdiction,” but that doctrine “is wholly unrelated to § 1367.” Id.


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“Pendent personal jurisdiction permits a court to entertain a claim against a

defendant over whom it lacks personal jurisdiction, but only if that claim arises from

a common nucleus of operative fact with a claim in the same suit for which the court

does have personal jurisdiction over the defendant.” Id. In that way, pendent personal

jurisdiction’s requirements do mirror section 1367’s requirements that additional

claims must “form part of the same case or controversy,” 28 U.S.C. § 1367(a), which

only happens if the claims share “a common nucleus of operative fact.” United Mine

Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966). But section 1367 does not itself

provide for pendent personal jurisdiction. And here there is no question that the

claims of out-of-state opt-in plaintiffs do not share “a common nucleus of operative

fact.” See id.

       Luna Vanegas cites Robinson Engineering Co. Pension Plan & Trust v. George,

223 F.3d 445 (7th Cir. 2000), and Rice v. Nova Biomedical Corp., 38 F.3d 909 (7th

Cir. 1994), as support. But neither case has any bearing on the issue before the court:

whether supplemental personal jurisdiction is warranted over the separate claims of

out-of-state plaintiffs—particularly absent nationwide service of process.

       Importantly, both cases involve pendent claim jurisdiction—not pendent party

jurisdiction—a distinction that Luna Vanegas ignores. In Robinson Engineering, the

Court used supplemental jurisdiction to maintain personal jurisdiction over a

defendant for both securities claims and later-added RICO claims because they arose

out of the same nucleus of operative facts. See Robinson Eng’g, 223 F.3d at 449. Rice




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also addressed pendent claim jurisdiction, and the defendant did not even “question

the district court’s extension” of the doctrine to his case. Rice, 38 F.3d at 913.

        Plus, in Robinson Engineering, the Court was careful to note that the federal

statutes at play authorize nationwide service of process. Robinson Eng’g, 223 F.3d at

449 (“All of the federal statutes at issue here authorize nationwide service of

process.”). 12 So too in Rice. 38 F.3d at 913 (stating that the doctrine of pendant

personal jurisdiction “has heretofore been applied only to cases in which personal

jurisdiction of one claim was based on a federal statute authorizing nationwide

service of process”).

        In Canaday, the Sixth Circuit recognized that the exercise of pendent

jurisdiction over a defendant as to related claims usually occurs “because the

underlying federal statute, in contrast to the FSLA, authorized nationwide service of

process and the plaintiff filed claims related to the federal anchor claim.” Canaday, 9

F.4th at 401 (collecting cases). The Sixth Circuit also clarified that “no federal statute

or rule authorizes pendent claim or pendent party personal jurisdiction.” Id. at 401–

02 (citing 4A Charles A. Wright, Arthur R. Miller & Adam N. Steinman, Federal

Practice and Procedure § 1069.7 (4th ed. 2021)). And it explained that pendent party

personal jurisdiction “is hard to reconcile with Bristol-Myers.” Id. at 401. After all,

“[i]f pendent party personal jurisdiction exists, Bristol-Myers should have come out



12   See also Demaria v. Nissan N. Am., Inc., No. 15 C 3321, 2016 WL 374145, at *8 (N.D. Ill.
     Feb. 1, 2016) (distinguishing Robinson Engineering: “Here, the FAC does not assert a
     single claim in which there is nationwide personal jurisdiction, nor is it clear from the
     allegations that the claims of the out-of-state plaintiffs, as presently pled, arise out of a
     common nucleus of operative fact.”).

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the other way.” Id. Commentators have likewise suggested—and some district courts

have held—that Bristol-Myers bars pendent party personal jurisdiction altogether. 13

         In sum, Luna Vanegas urges the Court to reject the Sixth Circuit’s reasoning,

again focusing on the idea that Bristol-Myers addressed due process limits on state

courts. See Appellee’s Br. at 46. This urging relies on a misunderstanding that is an

undercurrent throughout this case. Although Bristol-Myers addressed due process

limits on state courts, those limits inform the due process limits on federal courts

when they exercise personal jurisdiction under Rule 4(k)(1)(A).

IV.      The “parade of horribles” arguments fall short.

         Luna Vanegas and the amici curiae unabashedly aim to convince the Court

that applying well-settled principles of personal jurisdiction to this case will

undermine FLSA collective actions everywhere. Not so.

         First, the FLSA says nothing about where plaintiffs may assert their claims.

See 29 U.S.C. 216(b). It contains no service of process provision. It contains no venue

provision. The most the FLSA says is that collective actions may be heard by either

a federal or state court “of competent jurisdiction.” Id.

         Second, had Congress intended collective actions to be brought in any state in

which an employer has operations, it could have added a nationwide service of process




13    See, e.g., Scott Dodson, Personal Jurisdiction and Aggregation, 113 NW. U.L. REV. 1, 29
      (2018) (“In particular, Bristol-Myers Squibb’s emphasis on a connection between the claim
      and the forum calls into doubt the continued viability of pendent personal jurisdiction.”);
      Capozzi, supra note 6, at 273–82; Carter v. Ford Motor Co., No. 19-62646-CIV, 2021 WL
      1165248, at *15 (S.D. Fla. Mar. 26, 2021) (“Bristol-Myers thus squarely forecloses the
      Plaintiffs’ pendent-party personal-jurisdiction arguments here.”).

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provision to the FLSA. 14 It did so in other statutes, even before the FLSA’s enactment.

See 15 U.S.C. § 5 (Sherman Act discretionary nationwide service provision, enacted

in 1890). And it did so in other statutes post-enactment too. See 9 U.S.C. § 9

(Arbitration Act nationwide service provision, enacted in 1940). Congress made no

change to the FLSA, though, and the silence suggests, if anything, that Congress

intended to retain the territorial limitations on district court authority imposed by

the precursor to Rule 4(k)(1)(A).

        Third, again, rather than sue Signet in Texas, where Signet would be subject

to general jurisdiction, Luna Vanegas strategically elected to haul Signet into federal

court in Wisconsin. There was nothing stopping Luna Vanegas (or his counsel, who

hail from all corners of the country) from filing his claim in Texas and attempting to

join a nationwide collective action without the need for employing any specific

jurisdiction analysis. The amici complain of the risks of “bringing a collective action

in the State of Texas”—such as not getting certified in Texas—but that is likely just

a comment on the merits of their claim, not a reason to bend the rules of personal

jurisdiction. See NELA/WELA Amici Curiae Br. at 15.

        Fourth, the NELA/WELA also opine that the FLSA has a “comprehensive

remedial enforcement scheme with broad access to federal district courts.”

NELA/WELA Amici Curiae Br. at 3. But, as highlighted above, unfettered access to




14   See Canaday, 9 F.4th at 399 (“Because ‘Congress knows how to authorize nationwide
     service of process when it wants to provide for it,’ the absence of express language in the
     statute ‘argues forcefully that such authorization was not its intention.’” (quoting Omni
     Cap., 484 U.S. at 106)).

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federal district courts is not what the FLSA provides. As a result, courts must look to

other rules and procedures to fill in the gaps. These rules and procedures, clarified

most recently by Bristol-Myers, mean that FLSA actions premised on specific

personal jurisdiction of the defendant cannot bring in claims of out-of-state plaintiffs

that do not arise from the same common nucleus of operative facts.

      Finally, the NELA/WELA suggest that this result will magnify inequality

between employees and employers and chill suits aimed at vindicating employee

rights. See NELA/WELA Amici Curiae Br. at 11–18. This is an unfounded accusation,

as: (1) there will always be at least one jurisdiction where an employer is subject to

general personal jurisdiction; (2) even in a venue with only specific jurisdiction, an

employee can bring in those who are truly “similarly situated,” (i.e., in the same state,

working on the same project, etc.); and (3) employees can still attempt to bring a Rule

23 class action covering other claims. Beyond that, however, the principles of specific

personal jurisdiction are not ones that a court can ignore because their application

may limit the number of parties and claims brought into a lawsuit. Indeed, that is

precisely the point of specific jurisdiction: to ensure that the court is only adjudicating

“issues deriving from, or connected with, the very controversy that establishes

jurisdiction.” Bristol-Myers, 582 U.S. at 262 (quoting Goodyear, 564 U.S. at 919).

      In sum, applying the text of the FLSA, Rule 4, and Bristol-Myers does not lead

to the “parade of horribles” decried by Luna Vanegas and the amici curiae. Rather,

faithfully applying these texts both leads to the correct application of law and stops

a race to the courthouse.



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                          CONCLUSION AND PRAYER

      For these reasons and those stated in its opening brief, Appellant Signet

Builders, Inc. requests that the Court vacate and reverse the district court’s order

granting conditional certification of Appellee’s FLSA collective action. Signet further

requests that the Court remand with instructions to consider any renewed request

for FLSA conditional certification only if it encompasses similarly situated

individuals who worked for Signet within Wisconsin or could otherwise

independently satisfy specific personal jurisdiction over Signet in Wisconsin.




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                                                Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

      I certify that this Reply Brief of Appellant complies with Circuit Rule 32

because it is “proportionally spaced type is 12 points or larger in the body of the brief,

and 11 points or larger in footnotes” and “contains no more than 7,000 words.” Circuit

Rule 32(b)-(c).


                                                /s/ Bradley W. Snead
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                          CERTIFICATE OF SERVICE

      I certify that on February 9, 2024, I filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Seventh Circuit via CM/ECF,

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